                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION

CANDY BUSTAMANTE MARTINEZ      §
INDIVIDUALLY AND AS NEXT FRIEND§
L.S., A MINOR                  §
                               §
vs.                            §                      CIVIL NO. 5:21-cv-01274
                               §
BUTTERBALL, LLC                §

               DEFENDANT. BUTTERBALL LLC'S NOTICE OF REMOVAL

TO THE HONORABLE JUDGE OF THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF TEXAS:

       Pursuant to 28 U.S.C. §§ 1332 and 1441(a), Defendant, BUTTERBALL LLC,

hereby removes this action to the United States District Court for the Western District of

Texas San Antonio Division from the 285th District Court of Bexar County, Texas, stating

as follows:

1.     Plaintiffs, Candy Bustamante Martinez and L.S. are residents of San Antonio,

       Bexar County, Texas and are citizens of Texas.

2.     Plaintiff commenced this action in the 285th District Court of Bexar County, Texas,

       where it was given Cause No. 2021Cl23705.

3.     Defendant, Butterball LLC is a limited liability company organized under the law of

       the State of North Carolina. Its principal place of business is in the State of North

       Carolina. It is a citizen of North Carolina.

4.      Plaintiffs and Defendant are citizens of different states, Defendant is not a citizen

       of Texas, and the proper parties are totally diverse from Plaintiffs.

5.     Defendant, Butterball LLC received the summons and complaint on November 22,

       2021.
6.     A copy of all process, pleadings, and orders known in this case are attached as

Exhibit A.

7.     Defendant, Butterball LLC will provide written notice of this Notice of Removal to

       all adverse parties and will file a copy with the Clerk of the 285th District Court of

       Bexar County, Texas.

Dated: December     1J1 2021

                                                  Respectfully submitted,




                                                  David LeBas
                                                  State Bar No. 12098600
                                                  ATTORNEYS FOR DEFENDANT,
                                                  BUTTERBALL LLC

OF COUNSEL:

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                             CERTIFICATE OF SERVICE

                                  lZ
        I hereby certify that on the      day of December 2021, the foregoing document,
was filed with the Clerk of Court using the CM/ECF system, and was served on all counsel
of record via E-mail:

David C. "Clay" Snell
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